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CO 109A - Rev, 3/2010

UNITED STATES DISTRICT AND BANKRUPTCY COURTS

 

UNITED STATES OF AMERICA

VS.

DAVID CHARLES RHINE

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FOR THE DISTRICT OF COLUMBIA

Civil/Criminal No.:

NOTE FROM JURY

21 CR 687 (RC)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA
VS. Civil/Criminal No.; | 21 CR 687 (RC)

DAVID CHARLES RHINE

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